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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

IN THE UNITED s'rATEs DIsTRIcT coURT ¢Z,

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UNITED STATES OF AMERICA,

)
)
Plaintiff, )
)

vs. ) CR. NO. 04-20330-Ma
)
SAMMIE FORD, }
SHIRLEY FORD, }
RICKY BROWN, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., With a
report date of Thursday, April Zl, 2005 at 2:00 p.m.

The period fronl March 25, 2005 through May 13, 2005 is
excludable under 18 U.S.C. § 3161{h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT Is SO ORDERED this day of April, 2005.

MW'"V)____`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

